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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-252

vs.
                                                           ORDER
MAXIMIANO OCHOA,

                  Defendant.

       This matter is before the Court on the defendant's Motion to Modify
Supervised Release Conditions (filing 108). The motion will be granted.
       At the defendant's sentencing, the Court imposed the special conditions
of supervised release set out in the probation officer's sentencing
recommendation, including the condition that "the defendant shall not
purchase or possess, use, distribute, or administer any alcohol . . . ." However,
as reflected in the presentence report, the defendant is gainfully employed at
Upstream Brewery, and the Court did not intend for the defendant to be
forced to discontinue his employment there.
       The Court may modify a defendant's conditions of supervised release at
any time prior to the expiration or termination of the term of supervised
release, after considering certain of the 18 U.S.C. § 3553(a) factors. See 18
U.S.C. § 3583(e)(2). The Court may do so without a hearing if the relief is
favorable to the defendant, does not extend the period of supervised release,
and if the government has received notice and an opportunity to object and
has not done so. Fed. R. Crim. P. 32.1(c)(2). The government has been
contacted with respect to the defendant's motion and has indicated that it has
no objection.
       The Court will, therefore, modify the defendant's condition of
supervised release to provide that the defendant shall not consume alcohol,
and shall not possess, use, distribute, or administer any alcohol except as
required by his duties while lawfully working at his place of employment. The
defendant's judgment of conviction will reflect the terms of this order. The
probation officer will also be directed to provide the defendant with a written
statement of conditions that reflects the modification granted by this order.
See 18 U.S.C. § 3583(f).
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     IT IS ORDERED:

     1.    The defendant's Motion to Modify Supervised Release
           Conditions (filing 108) is granted.

     2.    As a condition of supervised release, the defendant shall
           not consume any alcohol, and shall not possess, use,
           distribute, or administer any alcohol except as required by
           his duties while lawfully working at his place of
           employment.

     3.    The United States Probation Officer shall provide the
           defendant with a written statement setting forth all the
           conditions to which the defendant's term of supervised
           release is subject, as modified by this order and reflected in
           the defendant's judgment of conviction.

     Dated this 30th day of June, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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